Case 2:24-cv-05610-GJP Documenti1-1_ Filed 10/22/24 Pagei1of1

JS44 (Rev, 04/21) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS DEFENDANTS
Hesham Ismail Timothy Kolman, Esq. and Kolman Law, P.C.

(b) County of Residence of First Listed Plaintiff Burlington County, NJ County of Residence of First Listed Defendant Bucks County, PA
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

(c) Attorneys (Firm Name, Address, and Telephone Number) Attomeys (If Known)

Rush Law Group, LLC
38 N. 6th street, Reading, PA 19601

II. BASIS OF JURISDICTION (Place an “X” in One Box Only) III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

(For Diversity Cases Only) and One Box for Defendant)

[]1 U.S. Government (]3 Federal Question PTF DEF PTF DEF

Plaintiff (U.S. Government Not a Party) Citizen of This State CL 1 [x] 1 Incorporated or Principal Place CJ 4 [x] 4
of Business In This State

Oo 2 U.S, Government [x]4 Diversity Citizen of Another State [x] 2  [{] 2. Incorporated and Principal Place Ls Cs

Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a [13 () 3 Foreign Nation Ole (6
Foreign Country

IV. NATURE = Suit (Place an “X" in One Box Onl Click here for: Nats of Suit Code Pesci tions.

110 Insurance PERSONAL INJURY PERSONAL INJURY 1605 Drug Related Seizure 375 False Claims Act
120 Marine 310 Airplane C 365 Personal Injury - of Property 21 USC 881 |{_] 423 Withdrawal 3" 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | 1690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability CT 367 Health Care/ 400 State Reapportionment
{_] 150 Recovery of Overpayment [~] 320 Assault, Libel & Pharmaceutical 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights 430 Banks and Banking
H 151 Medicare Act | 330 Federal Employers’ Product Liability A 830 Patent 450 Commerce
152 Recovery of Defaulted Liability C) 368 Asbestos Personal 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
([] 153 Recovery of Overpayment Liability PERSONAL PROPERTY 3 nq 880 Defend Trade Secrets |_| 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
TT] 160 Stockholders’ Suits 355 Motor Vehicle H 371 Truth in Lending Act | 485 Telephone Consumer
Ix] 190 Other Contract Product Liability [_] 380 Other Personal | _]720 Labor/Management |___ SOCIAL zt Protection Act
|__| 195 Contract Product Liability _] 360 Other Personal Property Damage Relations 861 HIA (1395ff) |_| 490 Cable/Sat TV
|_| 196 Franchise Injury OJ 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) |_| 850 Securities/Commodities/
| 362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) Exchange
Medical Maleeaces Leave Act 864 SSID Title XVI |_| 890 Other Statutory Actions
"REAL PROPERTY | CIVIL. ONER PEIIMIONS | _|790 Other Labor Litigation 865 RSI (405(g)) | | 891 Agricultural Acts
|_| 210 Land Condemnation 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement |_| 893 Environmental Matters
[| 220 Foreclosure 441 Voting 463 Alien Detainee Income Security Act _FEDERAL TAX SUITS _ 895 Freedom of Information
|_| 230 Rent Lease & Ejectment 442 Employment 510 Motions to Vacate 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
| 245 Tort Product Liability Accommodations | | 530 General |_| 871 IRS—Third Party - 899 Administrative Procedure
(_]290 All Other Real Property | 445 Amer. w/Disabilities -[_] 535 Death Penalty Tees pele 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Replicaion Agency Decision
|_| 446 Amer. w/Disabilities -] | $40 Mandamus & Other 465 Other Immigration |_| 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
| 448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an "X” in One Box Only)
& 1 Original C2 Removed from oO 3. Remanded from oO 4 Reinstated or oO 5 eee from oO 6 Multidistrict O 8 Multidistrict
Proceeding State Court - Appellate Court Reopened nother District Litigation - Litigation -
(specify) Transfer Direct File

Cite the U.S. Civil Statute under which you are filing (De not cite jurisdictional statutes unless diversity):
Title 28, Section 1332

Brief description of cause:
Breach of contract and unlawful withholding of settlement funds.

VI. CAUSE OF ACTION

VII. REQUESTEDIN = [J CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. $100,000 JURY DEMAND: Klyes ([JNo
VIII. RELATED CASE(S)
(See ‘tructions):
IF ANY eINSITUCHORS)’ GE DOCKET NUMBER
DATE SIGNATURE QE
October 22, 2024
FOR OFFICE USE ONLY =

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

